Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 1 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 2 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 3 of 31
Case 18-11668-CSS         Doc 1   Filed 07/16/18   Page 4 of 31




  /s/ Michael Busenkell                              07/16/2018
               Case 18-11668-CSS          Doc 1     Filed 07/16/18     Page 5 of 31




                 UNANIMOUS WRITTEN CONSENT OF THE MEMBERS
                                    OF
                             DECADE, S.A.C., LLC


       The undersigned, being all of the members of Decade, S.A.C., LLC (the “Company”), do
hereby consent to and adopt the following resolutions as the action of the Members of the Board
of Managers (the “Members”):

   Approval and Authorization of Filings Under Chapter 7 of the U.S. Bankruptcy Code

        WHEREAS, the Members have determined that it is in the best interest of the Company,
its creditors, and other interested parties to file a voluntary petition for relief under Chapter 7 of
Title 11 of the United States Code (the “Bankruptcy Code”).

       NOW, THEREFORE, BE IT RESOLVED, that management of the Company is
authorized to file a petition for relief under Chapter 7 of the U.S. Bankruptcy Code in any United
States Bankruptcy Court in any jurisdiction where such a filing would be proper (the
“Bankruptcy Court”);

       FURTHER RESOLVED, that Christopher Aden, Member of the Board of Managers, is
authorized and empowered to execute on behalf of the Company a petition for relief under
Chapter 7 of the Bankruptcy Code and to file such a petition in the Bankruptcy Court, and to
execute any affidavits, forms, schedules, applications or any other pleadings or documents which
are necessary or appropriate;

        FURTHER RESOLVED, that Christopher Aden, Member of the Board of Managers, is
authorized to retain on behalf of the Company the law firm of Gellert Scali Busenkell & Brown,
LLC as bankruptcy counsel upon such terms and conditions as he shall approve, to render legal
services to and to represent, the Company in connection with such Chapter 7 proceedings and
other related matters in connection therewith;

                                        General Authority

        RESOLVED, that any and all actions heretofore taken by Christopher Aden, Member of
the Board of Managers, in connection with the transactions or objectives approved in any or all
of the foregoing resolutions, and all transactions related thereto, are hereby approved, ratified
and confirmed in all respects;

       FURTHER RESOLVED, that Christopher Aden, Member of the Board of Managers, is
hereby authorized and directed, in the Company’s name and on its behalf, to take or cause to be
taken any and all such additional action or actions as, in the judgment of the officer or officers
taking or causing such action or actions, may appear desirable or appropriate to carry out the
purposes of the foregoing resolutions.
             Case 18-11668-CSS      Doc 1       Filed 07/16/18   Page 6 of 31




IN WITNESS THEREOF, this unanimous written consent has been executed by the undersigned
Member of the Company effective as of the 16th day of July, 2018.


                                        MEMBER:

                                        Gotham S&E Holdings, LLC


                                        By:________________________________
                                        Name: Christopher Aden
                                        Title: Member of the Board of Managers




                                            2
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 7 of 31
            Case 18-11668-CSS   Doc 1     Filed 07/16/18        Page 8 of 31




7/16/2018                               /s/ Michael Busenkell
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 9 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 10 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 11 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 12 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 13 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 14 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 15 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 16 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 17 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 18 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 19 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 20 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 21 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 22 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 23 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 24 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 25 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 26 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 27 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 28 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 29 of 31
Case 18-11668-CSS   Doc 1   Filed 07/16/18   Page 30 of 31
            Case 18-11668-CSS    Doc 1    Filed 07/16/18   Page 31 of 31




7/16/2018                       /s/ Michael Busenkell
